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          Exhibit A
                    Case: 4:17-cv-02837-JCH Doc. #: 9-2 Filed: 04/05/18 Page: 2 of 2 PageID #: 90

Civil Court of the City of New York                                                               Index    Number   {,v -
County       of             nlY                                                                   Motion Cal.     # Z -z-                   Motion Seq.              #
                                       Part
                                                                                                                 DECISIONIORDER
    {95 vth,yr*-,*\ G'y                                                                                    Rccitation,   as rcquired by CPLR 92219 (a),

                                                                                                           in thc rcvicw of rhis Motioni
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